                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
 LIABILITY LITIGATION                                Case No. 16-md-02741-VC


                                                     PRETRIAL ORDER NO. 4:
 This document relates to:                           PLAINTIFFS' LEADERSHIP
                                                     STRUCTURE
 ALL ACTIONS




       The Court has considered the parties’ submissions on the plaintiffs’ leadership structure

and orders as follows.

                                      I.      Co-lead counsel

       The Court appoints as co-lead counsel Robin Greenwald of Weitz & Luxenberg, PC;

Michael Miller of The Miller Firm, LLC; and Aimee Wagstaff of Andrus Wagstaff, PC. The

court vests co-lead counsel with the responsibility for coordinating and overseeing MDL

activities for the plaintiffs. Specifically, co-lead counsel have the authority and the duty to:

       1. Propose agenda items for case management conferences and appear at case

management conferences and hearings;

       2. Chair the Plaintiffs’ Executive Committee;

       3. Schedule and set agendas for Executive Committee meetings, and keep minutes or

transcripts of those meetings;

       4. Draft case management orders for the orderly and efficient litigation of this case,

including a case management order that provides for the duties and responsibilities of the MDL
leadership structure as set forth herein;

       5. Enter into stipulations with the defendants;

       6. Sign and file all pleadings relating to all actions in the MDL;

       7. Determine the plaintiffs’ position on matters arising during the pretrial proceedings,

and present that position in pleadings, briefs, motions, oral argument, or as otherwise

appropriate, personally or by a designee;

       8. Coordinate and conduct discovery on behalf of the plaintiffs, consistent with the

requirements of the Federal Rules of Civil Procedure and the Local Rules of the Northern

District of California;

       9. Liaise with defense counsel;

       10. Schedule and engage in settlement negotiations with the defendants, and if there is a

settlement, propose a claims protocol and/or plan of allocation;

       11. Consult with and employ expert witnesses;

       12. Enter into contracts and other agreements with expert witnesses or vendors – such as

a document depository vendor or court-reporting services – as necessary to litigate this MDL;

       13. Establish protocols for common benefit billing and disbursements, maintain records

of such billing and disbursements advanced by Executive Committee members, and report

periodically to the Executive Committee concerning disbursements and receipts;

       14. Maintain and collect time and expense records for work performed, time billed, costs

incurred, and other disbursements made by plaintiffs’ counsel whose work has been specifically

authorized, and submit at the Court’s request in writing, ex parte, and in camera reports to the

Court regarding time billed in the prosecution of this action;

       15. Retain the services of any attorney not part of the Executive Committee to perform

any common benefit work, provided the attorney so consents and is bound by the compensation

structure established in this MDL;

       16. Establish and maintain a depository for orders, pleadings, hearing transcripts, and all

documents served on plaintiffs’ counsel, and make such papers available to plaintiffs’ counsel


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upon reasonable request;

        17. Otherwise coordinate the work of all plaintiffs’ counsel, and perform such other

duties as the co-lead counsel deem necessary, in order to advance the litigation or as authorized

by further order of the Court; and

        18. Perform any other necessary administrative or logistic functions of the Executive

Committee, and carry out any other duty ordered by the Court.

        Absent agreement of the parties in advance, all requests to and negotiations with

Monsanto shall be made by plaintiffs’ co-lead counsel unless the request or negotiation relates to

a case-specific issue that doesn't impact other matters within the MDL.

                            II.      Plaintiffs’ Executive Committee

        The Court appoints the co-lead counsel as members and chairs of the Executive

Committee. The Court further appoints as members of the Executive Committee Michael Baum,

Baum Hedlund Aristei and Goldman; Hunter Lundy, Lundy Lundy Soileau & South; and

Yvonne Flaherty, Lockridge Grindal Nauen. The Executive Committee is responsible for

assisting in all aspects of the MDL, as directed by the co-lead counsel.

                                      III.   Liaison counsel

        The Court appoints as liaison counsel Lori Andrus, Andrus Anderson, LLP and Mark

Burton, Audet and Partners. The role of co-liaison counsel includes administrative matters, such

as:

        1. Liaising with plaintiffs’ attorneys who file cases in this MDL and who are not

appointed to leadership in this MDL;

        2. Preparing, maintaining, and transmitting copies of documents served in this MDL;

        3. Maintaining the Court’s orders and notices and the JMPL’s orders and notices for all

plaintiffs’ counsel; and

        4. Coordinating between the MDL and the various state court actions currently pending

or later filed.




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       The Court may alter the leadership counsel or the allocation of responsibilities if

circumstances warrant, either on a party’s motion or sua sponte.

       Co-lead counsel must submit a proposed Common Benefit and Expense Order by no later

than December 16, 2016.

       IT IS SO ORDERED.

Dated: December 7, 2016
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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